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                           EXHIBIT B

                        Engagement Letter
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                                                                          Hawkey
                                                                                  w-PLLC

                                                     Howley Law PLLC




                                                     One of Counsel


         On behalf of the Client, I agree to the terms and conditions of this Agreement and confirm
that it accurately reflects the scope and intent of this engagement.

Dated: June 9, 2025




                                                     Tom A. Howley
                                                     Trustee




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